Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 1 of 7 PageID #: 136




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________________X
DONALD GUICHARD,                                                      Index No. 2:18-CV-04083;
                                                                      2:19-CV-03443
                               Plaintiff,                             ORDER TO SHOW
                                                                      CAUSE
-against-


SUFFOLK COUNTY SHERIFF
CORRECTIONS FACITLITY, ET AL.,

                           Defendants.
_____________________________________________X
      UPON reading and filing the annexed Affirmation of LANCE D. SIMON, ESQ., dated the

14th day of April 2022, the attached exhibits, and upon all the prior pleadings heretofore had herein,

       LET the Defendants, or their attorney, and the Plaintiff DONALD GUICHARD, show

cause before this Court, to be held in and for the United States District Court Eastern District of

New York, at the Courthouse thereof located at 100 Federal Plaza, Central Islip, on the ___ day of

___________, 2022, at 10:30 o’clock in the forenoon of said day or as soon thereafter as counsel

can be heard, why an order should not be made and entered herein:

   1. Relieving SIMON LAW GROUP, PLLC as attorneys of record for DONALD

       GUICHARD, the Plaintiff in the above-captioned action, and declaring that SIMON LAW

       GROUP, PLLC have no further responsibility in this action pursuant to CPLR § 321(b)(2);

   2. Granting to the Plaintiff a stay of all proceedings in the within matter for a period of thirty

       (30) days from the date of the Court’s determination of this application, to afford the

       Plaintiff an opportunity to retain new counsel;

   3. Granting leave to serve the Order to Show Cause on Defendant’s counsel, BRIAN C.

       MITCHELL, ESQ., without the supporting Affirmation and exhibits;
Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 2 of 7 PageID #: 137




   4. Granting SIMON LAW GROUP, PLLC such other, further, and different relief as to this

       Court deems just proper.

SUFFICIENT CAUSE APPEARING THEREFORE, it is

       ORDERED, that SIMON LAW GROUP, PLLC is relieved as attorneys of record for

DONALD GUICHARD, the Plaintiff in the above-captioned action, and SIMON LAW GROUP,

PLLC has no further responsibility in this action pursuant to CPLR § 321(b)(2); and it is further

       ORDERED, that pending the hearing and determination of this application, all

proceedings in this matter are hereby STAYED; and it is further

       ORDERED, that service of a copy of this Order, together with the papers upon which it is

based, upon the Plaintiff, DONALD GUICHARD by email and overnight mail and a copy of the

Order only, without any supporting papers, upon counsel for the Plaintiff’s counsel, by regular

mail, BRIAN C. MITCHELL, ESQ., with offices located 100 Veterans Highway, Hauppauge,

New York 11788, by electronic delivery via NYSCEF, on or before the ___ day of _________,

2022 be deemed good and sufficient service thereof.

Dated: April 14, 2022
       Commack, New York

                                                      E N T E R:

                                                      _________________________________
                                                      J.S.C.
Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 3 of 7 PageID #: 138




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________________X
DONALD GUICHARD,                                                     Index No. 2:18-CV-04083;
                                                                     2:19-CV-03443
                               Plaintiff,                            AFFIRMATION IN
                                                                     SUPPORT
-against-


SUFFOLK COUNTY SHERIFF
CORRECTIONS FACITLITY, ET AL,


                        Defendants.
_____________________________________________X
       LANCE D. SIMON, ESQ., an attorney duly admitted to practice before the Courts of

the State of New York, affirms the following under the penalties of perjury:

       1.      I am an associate of the counsel of SIMON LAW GROUP, PLLC, attorneys for the

Plaintiff, and as such I am fully familiar with the facts and circumstances pertaining to the

proceedings concerning this litigation. I submit the within Affirmation in support of the firm’s

application seeking an Order for the following relief:

            a. Relieving SIMON LAW GROUP, PLLC as attorneys of record for DONALD

               GUICHARD, Plaintiff in the above-captioned action, and declaring that SIMON

               LAW GROUP, PLLC has no further responsibility in this action pursuant to CPLR

               § 321(b)(2);

            b. Granting to the Plaintiff a stay of all proceedings in the within matter for a period

               of thirty (30) days from the date of the Court’s determination of this application, to

               afford the Plaintiff an opportunity to retain new counsel;

            c. Granting leave to serve the Order to Show Cause on Defendant’s counsel, BRIAN

               C. MITCHELL, ESQ., without the supporting Affirmation and exhibits;
Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 4 of 7 PageID #: 139




              d. Granting SIMON LAW GROUP, PLLC such other, further, and different relief as

                 to this Court deems just proper.

        2.       On or about January 21, 2022, the Plaintiff retained our firm. A copy of said retainer

is annexed hereto as EXHIBIT A. Your Affirmant’s firm seeks to be relieved from representing

the Plaintiff due to the fact that, the attorney-client relationship has irrevocably broken down

between the Plaintiff and this firm rendering us unable to represent him in a manner that is

necessary and that comports with our practices.

        3.       Without divulging particulars, we have attempted, on numerous occasions, to

communicate with our client without a response or timely response. To date, we have not been

provided necessary documents, that we were told existed or ascertainable upon the execution of

the retaining agreement. Our client has missed all but one scheduled office meetings, which were

required to be prepared to engage opposing counsel and this Court: not to mention to vie fully for

our client.

        4.       To be candid, our client’s inability to perform as is required has not been the result

in bad-faith. It is very clear to the undersigned that there are financial issues that have affected the

Plaintiff. With this said, our ability to represent the Plaintiff fully and competently has been

abridged, irrespective of the predicate for same. This places our firm in jeopardy.

              A BREAK-DOWN OF THE ATTORNEY-CLIENT RELATIONSHIP

    5. Pursuant to Local Civil Rule 1.4 which governs withdrawal of attorneys,

                 “[a]n attorney who has appeared as attorney of record for a party ...
                 may not withdraw from a case without leave of the Court granted by
                 order. Such an order may be granted only upon a showing by
                 affidavit or otherwise of satisfactory reasons for withdrawal ...
                 ‘Satisfactory reasons include “a client's lack of cooperation-
                 including lack of communication-with counsel, and the existence of
                 an irreconcilable conflict between attorney and client.” Diarama
                 Trading Co. v. J. Walter Thompson U.S.A., 01 Civ. 2950(DAB),
                 2005 U.S. Dist. LEXIS 17008, at *4, 2005 WL 1963945 (S.D.N.Y.
Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 5 of 7 PageID #: 140




                Aug. 12, 2005) (internal quotation marks omitted); see also
                Ashmore v. Cgi Group, Inc., 11 Civ. 8611(AT), 2014 U.S. Dist.
                LEXIS 51618, at *2, 2014 WL 1414314 (S.D.N.Y. Apr. 7, 2014) (a
                breakdown of the attorney-client relationship is sufficient grounds
                for withdrawal); Winkfield v. Kirschenbaum & Phillips, P.C., 12
                Civ. 7424 (JMF), 2013 U.S. Dist. LEXIS 12093, at *3–4, 2013 WL
                371673 (S.D.N.Y. Jan. 29, 2013) (irreconcilable differences
                constitute   a    satisfactory    reason      for     withdrawal).”


Naguib v. Pub. Health Sols., No. 12 CV 2561 ENV LB, 2014 WL 2002824, at *1

(E.D.N.Y.).


        6.      Analogously, “DR 2–110(C)(1)(d) of the Code of Professional Responsibility

provides that an attorney’s withdrawal from representation is permitted where a client's conduct

“renders it unreasonably difficult for the lawyer to carry out employment effectively”. Stephen

Eldridge Realty Corp. v. Green, 174 A.D.2d 564, 565–66, 570 N.Y.S.2d 677, 678 (1991).


        7.      Despite numerous attempts to counsel the Plaintiff on his obligations with respect

to the above, same has fallen on deaf ears, and we have been unable to act effectively as we

typically do in litigating such cases.

        8.      Accordingly, the Plaintiffs’ failure to cooperate has caused the irretrievably broken

attorney-client relationship that necessitates an Order relieving this Firm from representing the

Plaintiff.

        9.      In light of the Plaintiffs’ inability to fully cooperate with this firm’s representation

of him, this application has become a necessity.

        A THIRTY-DAY STAY OF ALL PROCEEDINGS SHOULD BE GRANTED

        10.     Section 321(2)(c) of the Civil Procedure Laws and Rules governs such withdrawal,

and states in pertinent part,
Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 6 of 7 PageID #: 141




               Upon an order granting withdrawal of an attorney “no further
               proceeding shall be taken in the action against the party for whom
               he appeared, without leave of the court, until thirty days after notice
               to appoint another attorney has been served upon that party either
               personally or in such manner as the court directs.”

       11.     Thus, it is respectfully requested that the Plaintiff be given thirty (30) days to retain

successor counsel to ensure she is afforded sufficient time to seek representation. Perhaps the

Plaintiff can secure representation closer to his home that will culminate in a situation that will be

tenable for him.

       12.     Section 321(2) of the Civil Procedure Laws and Rules provides,

               An attorney of record may withdraw or be changed by order of the
               court in which the action is pending, upon motion on such notice to
               the client of the withdrawing attorney, to the attorneys of all other
               parties in the action, or, if a party appears without an attorney, to the
               party, and to any other person, as the court may direct...


       13.     This application is made in good faith.

       14.     That no prior application for the relief requested herein has been made to this Court

or any other court of competent jurisdiction.

       15.     Notice of the within application was given pursuant to NYCRR 202.7. A copy of

the 202.7 notice is annexed hereto as EXHIBIT B.
Case 2:19-cv-03443-JS-LGD Document 46 Filed 04/14/22 Page 7 of 7 PageID #: 142




       WHEREFORE, your Affirmant respectfully requests that the relief sought in the annexed

Order to Show Cause, be granted in its entirety, and that SIMON LAW GROUP, PLLC be relieved

of its obligations as counsel for the Plaintiff, DONALD GUICHARD, and be permitted to

forthwith withdraw in this matter.

Dated: April 14, 2022
       Commack, New York
                                                 _______________________________
                                                 LANCE D. SIMON, ESQ.
